

Matter of Fendick (2017 NY Slip Op 07881)





Matter of Fendick


2017 NY Slip Op 07881


Decided on November 9, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 9, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, LINDLEY, CURRAN, AND WINSLOW, JJ.



[*1]MATTER OF THOMAS J. FENDICK, AN ATTORNEY. 

Order of suspension entered pursuant to Judiciary Law § 90 (4) (f).
(Filed Oct. 25, 2017.)








